              Case 3:17-bk-02469-PMG               Doc 18      Filed 09/01/17        Page 1 of 2
                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                      JACKSONVILLE DIVISION

In re:                                                                       Case No: 17-02469-3G7

NATASHIA T. SWINDLER

                                          Debtor(s)./

                                 NOTICE OF PRELIMINARY HEARING

        NOTICE IS GIVEN that a preliminary hearing in this case will be held before the Honorable Paul
M. Glenn, United States Bankruptcy Judge, United States Courthouse, 300 North Hogan Street, in
Courtroom 4A, 4th Floor, Jacksonville, Florida on Wednesday, October 25, 2017 at 10:00 a.m. to consider
and act upon the following matters and transact such other business as may properly come before the
preliminary hearing:

         Application for Attorney’s Fee for Gordon P. Jones (docket 17)

         Please note the following:

         1.   The preliminary hearing may be continued upon announcement made in open court without
                 further notice.
         2.   Any party opposing the relief sought at this preliminary hearing must appear at the preliminary
              hearing or any objections or defenses may be deemed waived.
         3.   Appropriate Attire. You are reminded that Local Rule 5072-1(b)(16) requires that all persons
              appearing in Court should dress in business attire consistent with their financial abilities. Shorts,
              sandals, shirts without collars, including tee shirts and tank tops, are not acceptable.
         4.   Avoid delays at Courthouse security checkpoints. Due to heightened security procedures,
              persons must present photo identification to enter the Courthouse and arrive early. You are
              reminded that Local Rule 5073-1 restrict the entry of cellular telephones, and, except in
              Orlando, computers into the Courthouse absent a specific order of authorization issued
              beforehand by the presiding Judge.

        In accordance with the Americans with Disabilities Act, persons with disabilities needing a special
accommodation to participate in this proceeding should contact the individual or agency sending the notice
at the address and telephone number listed below not later than seven (7) days prior to the proceedings. If
hearing impaired, (TDD) 1-800-955-8771, or Voice (V) 1-800-955-8770, via Florida Relay Service.

         Dated: September 1, 2017


                                                            /s/ Gordon P. Jones                   _
                                                            Gordon P. Jones
                                                            Florida Bar No.: 829439
                                                            Post Office Box 600459
                                                            Jacksonville, FL 32260-0459
                                                            (904) 262-7373
                                                            Attorney for Trustee
             Case 3:17-bk-02469-PMG            Doc 18     Filed 09/01/17      Page 2 of 2

          I HEREBY CERTIFY that a copy of the foregoing was furnished via U.S. Mail, postage prepaid,
this 1st day of September, 2017 or electronically by the Bankruptcy Noticing Center, to the following:

Natashia T. Swindler
10846 Naples Ct. S.
Jacksonville, Fl 32218

United States Trustee
400 W. Washington St., Ste 1100
Orlando, FL 32801



                                                       /s/ Gordon P. Jones                _
                                                       Attorney
